        Case 1:21-mj-00110-RMM Document 1-1 Filed 01/18/21 Page 1 of 10




                                   STATEMENT OF FACTS

      I am employed as a Special Agent of the Federal Bureau of Investigation (FBI) and have
been employed by the FBI since 2016. Currently, I am assigned to a squad that investigates
Counterterrorism matters as part of the FBI Washington Field Office.

Prior to joining the FBI, I spent six years in the United States Army. I have extensive training and
experience in Counterterrorism and white collar investigations. As a Special Agent, I am
authorized to investigate violations of laws of the United States and am authorized to execute
warrants issued under the authority of the United States.

        The United States Capitol (the Capitol), which is located at First Street, SE, in Washington,
D.C., is secured 24 hours a day by United States Capitol Police (Capitol Police). Restrictions
around the Capitol include permanent and temporary security barriers and posts manned by Capitol
Police. Only authorized people with appropriate identification are allowed access inside the
Capitol. On January 6, 2021, the exterior plaza of the Capitol was closed to members of the public.

       On January 6, 2021, a joint session of the United States Congress convened at the Capitol.
During the joint session, elected members of the United States House of Representatives and the
United States Senate were meeting in separate chambers of the Capitol to certify the vote count of
the Electoral College of the 2020 Presidential Election, which had taken place on November 3,
2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by approximately
1:30 p.m., the House and Senate adjourned to separate chambers to resolve a particular objection.
Vice President of the United States Michael R. Pence was present and presiding, first in the joint
session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Pence present and presiding over the Senate, a large crowd gathered outside of the Capitol. As
noted above, temporary and permanent barricades were in place around the exterior of the Capitol
building, and Capitol Police were present and attempting to keep the crowd away from the Capitol
building and the proceedings underway inside.

        Between 1:00 and 2:00 p.m., certain individuals in the crowd forced their way through, up,
and over the barricades and Capitol Police officers, and the crowd advanced to the exterior façade
of the building. The crowd was not lawfully authorized to enter or remain in the building and,
prior to entering the building, no members of the crowd submitted to security screenings or
weapons checks by Capitol Police Officers or other authorized security officials.

        At such time, the certification proceedings were still underway, and the exterior doors and
windows of the Capitol were locked or otherwise secured. Capitol Police officers attempted to
maintain order and keep the crowd from entering the Capitol; however, shortly after 2:00 p.m.,
individuals in the crowd forced entry into the Capitol, including by breaking windows and by
assaulting members of the Capitol Police, as others in the crowd encouraged and assisted those
acts.
        Case 1:21-mj-00110-RMM Document 1-1 Filed 01/18/21 Page 2 of 10




        Shortly thereafter, at approximately 2:20 p.m. members of the House and Senate, including
Vice President Pence serving as the President of the Senate, were instructed to and did
evacuate the chambers. Accordingly, all proceedings of the United States Congress, including the
joint session, were effectively suspended until shortly after 8:00 p.m. the same day.

       In light of the dangerous circumstances caused by the unlawful entry to the Capitol,
including the danger posed by individuals who had entered the Capitol without any security
screening or weapons check, Congressional proceedings could not resume until after every
unauthorized occupant had left the Capitol, and law enforcement could confirm the building had
been secured. The proceedings resumed at approximately 8:00 p.m. after the building had been
secured. Vice President Pence remained in the United States Capitol from the time he was
evacuated from the Senate Chamber until the session resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the Capitol building
without authority to be there.

       On January 5, 2021,
his public profile the following
6th? I absolutely am looking forward to that and NO MATTER WHAT THERE IS NOTHING
                                               message is below in Figure One:




                                          Figure One

        From January 6 through at least January 8, 2021, RILEY posted over 150 messages,
photographs, and videos on his public Facebook account, detailing his actions in Washington D.C.
on January 6. In one message on the morning of January 6
s                                                                           RILEY then posted a
series of videos showing that he was in fact in Washington, D.C., attending a rally where he
recorded various speakers. Along with one of those videos, RILEY include




                                          Figure Two


                                               2
        Case 1:21-mj-00110-RMM Document 1-1 Filed 01/18/21 Page 3 of 10




       Later on January 6, RILEY posted another video of a large number of people walking
toward what appears to be the Capitol


post is below in Figure Three:




                                          Figure Three

        In addition to messages, RILEY posted photographs both on his profile and in an
                                                   Those photographs include, but are not
limited to, scenes of RILEY and other individuals approaching the Capitol, standing on the
Capitol grounds, and walking inside the Capitol building. In what appears to be a first-person
photograph, for example, RILEY is standing behind a number of other rioters as they attempt to
enter what looks to be the Capitol doors. That photograph is depicted below in Figure Four:




                                           Figure Four

        In                photograph posted on January 6, 2021, RILEY is clearly visible in a
black leather jacket with black paint on his face and white feathers in his black braided hair,
standing with other individuals in what appears to be the inside of the Capitol building. This
same
profile. RILEY added a message to the photograph, stating


                                                3
Case 1:21-mj-00110-RMM Document 1-1 Filed 01/18/21 Page 4 of 10




                          Figure Five

                               4
        Case 1:21-mj-00110-RMM Document 1-1 Filed 01/18/21 Page 5 of 10




        In another first-person photograph posted on January 8, 2021, RILEY is standing with
others in front of Capitol Police officers confronting individuals inside the Capitol building.
That photograph is depicted below in Figure Six:




                                            Figure Six
        In another selfie photograph posted on January 6, 2021, RILEY is standing on what appears
to be a west-facing balcony of the Capitol, overlooking a large number of people on the Capitol
grounds. That photograph is below in Figure Seven. In a similar selfie from that balcony, RILEY




                                          Figure Seven

                                                5
         Case 1:21-mj-00110-RMM Document 1-1 Filed 01/18/21 Page 6 of 10




        Open-
                                           1
                                       In the video, a man with the same black leather jacket,
black braided hair, white feathers, and remnants of black face paint, is standing on what appears
to be the Capitol grounds while he details how he broke into and damaged the Capitol, and
assaulted federal law enforcement officers. The subject of this video is the same individual,
RILEY, who is depicted in the above messages, photographs, and videos.

                                                              e I think. We broke windows, we
went into the door, we pushed our way in, and then we just kept going fur

                                             in
point, RILEY flashes both of his middle fingers to the screen as if to reenact what he had done
while yelling                                                                   epper sprayed three
times, and [he] got fire-extinguishered [sic
            when they were trying to get all the legislators creeping away, one of our guys came
in, there was like three of us in a room and everybod                                  -
extinguishered [sic                                                                              le
                                                               when we got up inside, they did
come in and they set up this line, and they were like trying to push us out of the room. For a
long time there was like a hella long power struggle, and we were pushing back and forth on
each other, and we were being crushed and people were being trampled on and shit, and it was
           RILEY then claimed that they did not have problems with the officers and that the
officers were nice and not injured after the struggle was over.


of the Capitol.
the steal, so we stopped the steal. We took o

        A screenshot of the video at the point where RILEY describes yelling about Nancy Pelosi
while inside the Capitol is provided below in Figure Eight:




1
  This video is publicly-accessible and can be viewed in its entirety at the following URL: https://www.reddit.com
/r/CapitolConsequences/comments/kx22a1/video_of_man_describing_in_detail_breaking_into/.

                                                         6
Case 1:21-mj-00110-RMM Document 1-1 Filed 01/18/21 Page 7 of 10




                          Figure Eight

                               7
           Case 1:21-mj-00110-RMM Document 1-1 Filed 01/18/21 Page 8 of 10




       As described above, in the days following January 6, RILEY continued to post messages
and photographs about the events on January 6 to his public Facebook profile. On January 8, for

In another post on the same day, R

                                                                                            ke my
life. I                    after which, RILEY posted an address in Sacramento, California. Shortly


       Your affiant reasonably believes that the individual who posted the above messages,
photographs, and videos is in fact JORGE AARON RILEY of California. First, the images of
RILEY in the Capitol and the video of RILEY describing his actions all display unique attire and

results in a 2019                                          AARON RILEY of California. The
                                                                               he person in the
photograph appears to be the same individual in the Capitol on January 6, 2021. Additionally, a
public
individual in the photographs and video above, and notes that he is from Sacramento, California.
A screenshot of that LinkedIn page is below in Figure Ten:




          Figure Nine                                                     Figure Ten

           Figure Ten

Sacramento, California reported that the California Republican Assembly (CRA) confirmed the
man seen in the video detailed above and captured in Figure Eight is a member of their
organization named JORGE RILEY of Sacramento, California. According to the local news, the
California Republican Assembly demanded in a press release                       Sacramento
                                                      2




2
  This reporting is publicly-accessible and can be viewed at the following URL: https://sacramento.cbs
local.com/2021/01/14/sacramento-jorge-riley-storming-capitol/.

                                                          8
         Case 1:21-mj-00110-RMM Document 1-1 Filed 01/18/21 Page 9 of 10




                                                                        RA demanded his resignation,
                             3
RILEY did in fact resign.

        On January 17, 2021, law enforcement interviewed an active member of the CRA who
reported that they had known RILEY for at least four to five years.
residence from previously being inside and provided the same address as the Sacramento,
California address RILEY listed publicly on his Facebook profile the same profile with the
above messages, photographs, and videos. Law enforcement observed an individual they
believed to be RILEY enter that address on January 17, 2021. The witness confirmed that
RILEY was a member of the CRA and served in a board position as the Recording Secretary of
the State. The witness also stated that they knew RILEY was going to Washington, D.C. on
January 6, 2021. After law enforcement showed the witness the interview video described
above, the witness confirmed that the individual interviewed was the same RILEY the witness
knew.

       Based on the foregoing, your affiant submits there is probable cause to believe that JORGE
AARON RILEY violated 18 U.S.C. § 1512(c)(2), which makes it a crime to obstruct, influence,
or impede any official proceeding, or attempt to do so. Under 18 U.S.C. § 1515, congressional
proceedings are official proceedings.

         Your affiant submits that there is probable cause to believe that JORGE AARON RILEY
violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly enter or remain
in any restricted building or grounds without lawful authority to do so; and (2) knowingly, and
with intent to impede or disrupt the orderly conduct of Government business or official functions,
engage in disorderly or disruptive conduct in, or within such proximity to, any restricted building
or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct of
Government business or official functions; or attempt or conspire to do so. For purposes of Section
                                                             , cordoned off, or otherwise restricted
area of a building or grounds where the President or other person protected by the Secret Service,
including the Vice President, is or will be temporarily visiting; or any building or grounds so
restricted in conjunction with an event designated as a special event of national significance.




3
 This reporting is publicly-accessible and can be viewed at the following URL: https://fox40.com/news/local-
news/video-appears-to-show-sacramento-man-describing-how-he-joined-insurrection-at-us-capitol/.

                                                        9
       Case 1:21-mj-00110-RMM Document 1-1 Filed 01/18/21 Page 10 of 10




        Finally, your affiant submits there is also probable cause to believe that JORGE AARON
RILEY violated 40 U.S.C. § 5104(e)(2), which makes it a crime to willfully and knowingly
(D) utter loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at
any place in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or
disturb the orderly conduct of a session of Congress or either House of Congress, or the orderly
conduct in that building of a hearing before, or any deliberations of, a committee of Congress or
either House of Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.



                                             SPECIAL AGENT KATHRYN CAMILIERE
                                             FEDERAL BUREAU OF INVESTIGATION
Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this      day of January 2021.

                                             ___________________________________

                                             UNITED STATES MAGISTRATE JUDGE




                                                10
